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IN RE: OIL SPILL by “Deepwater Horizon” Ete,
DIRECT FILING SHORT FORM'

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Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 Wap ‘Oi.
{Copies of said Order having also been filed in Civil Actions No. 10-8388 and gnarho , by
MBL 2179 SECTION: J JUDGE CARL HAR , SS
lp
By submitting this document, I am » asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, ‘ef
al., No. 10-2771; adept and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 40-2771; and/or intervene into, join and otherwise adopt the Master Complaint
(Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).
ener erence ea earn arena a
Last Name First Name | Middle Name/Maiden Suffix
BAXIVANOS THOMAS -R
: “Phone Number E-Mail Address
__ (880) 249-2327 tbaxivanos@knology.net
: Address City / State / Zip
: 121 Hombre Circle : Panama City Beach, FL 32408
a
INDIVIDUAL CLAIM (mi) - BUSINESS CLAIM L]
Employer Name” etait co We re
N/A :
Job Title / Descriptian Type of Business
Address - — — : Address
Clty / State Zp coc te uuttttee wes ce city / State! Zp coe
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
9545
Neen
Attorney Name : Firm Name
JEFF FRIEDMAN FRIEDMAN LEAK -
Address City / State / Zip
3800 CORPORATE WOCDS DRIVE BIRMINGHAM, AL 35243
Phone Number E-Mail Address
(205) 278-7000 jfriedman@friedmanleak.com / mconng@friedmanleak.com
Claim filed with BP? vEs NO fll | Claim Filed with GCCF?; YES [il No []
if yes, BP Claim No.: lf yes, Claimant Identification No.:
ee eee seers e eee e cence nce
Claim Type (Please check all that apply):
Gamage or destruction to real or personal property Oo Fear of Future Injury and/or Medical Monitering
ai Earnings/Profit Loss oO Loss of Subsistence use of Natural Resources
Qi Personal Injury/Death O Removal and/or clean-up costs
Oo Other:

* This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Farm is to be filed in CA Na. 10-8888, by prior order of the Caurt, (Rec. Dac. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MOL
2179), the filing of this form in C.A. No, 10-8888 shall be deemed ta be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Farm.

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rrr
Brief Description:

' 1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 121 Hombre Circle, Panama City Beach, Bay
County, Florida 32408

2. For personal injury claims, describe the injury, how and when it was sustained, and identify ail health care providers and

amployers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

2

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Prafile Form.

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Please check the box(es) below that you think apply to you and your claims:

Non-governmental Econemic Loss and Property Damage Claims (Bundle B1}

O 1. Commercial fisherman, shrimper, crabber, or aysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or aystering.

fC) 2. Seafood processor, distributor, retail and seafood market, ar restaurant owner and operator, or an employee thereof.

Oo 3. Recreational business awner, operator ar worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico,

Oo 4. Commercial business, business awner, operator or worker, Including cammercial civers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

O15. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0 6. Plant and dock worker, including commercial seafood plant warker, langshoreman, or ferry operator.

fe] 7 Owner, lessor, ar lessee of real property alleged ta be damaged, harmed ar impacted, physically ar economically, including
lessees of ayster beds.

C] 8. Hatel awner and aperator, vacation rental owner and agent, or alf those who earn their living from the tourism industry.
L] 9. Bank, financial institution, or retail business that suffered losses as a result of the spil.
(1 10. Person who utilizes natural resources for subsistence.

(1) 1%. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related te Cleanup (Bundle B3

O 1. Boat captain or crew invalved in the Vessels of Opportunity program.
2 Worker invalved in decantaminating vessels that came into cantact with ail and/or chemical dispersanis.

03. Vessel captain or crew who was nat invalved in the Vessels of Opportunity program but wha were exposed to harmful chemicats,
adors and emissions during past-explosion clean-up activities.

(] 4. Clean-up worker or beach personnel invalved in clean-up activities alang shorelines and intercaastal and intertidal zones.
O1 5. Resident who lives ar works in close proximity to coastal waters.

O6. Other:

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MOL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentialiy (Pre-Trial Order No. 11), and subject to full copies of same being made available to both

Pree a ey if applicable) filing this form and PSC through Plaintiff Liaison Counsel.
a

Claimant or Attorney Signature

JEFF FRIEDMAN

Print Name

GAQ-A\

Date

3

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

